           Case 3:19-md-02885-MCR-HTC Document 1591-1 Filed 01/05/21 Page 1 of 19


Donna Bajzik

From:                FLNDdb_efile MDL
Sent:                Tuesday, January 5, 2021 7:41 AM
To:                  Blair Patton; Kim Westphal; Donna Bajzik; Elizabeth Lawrence; William Moore
Subject:             FW: Activity in Case MDL No. 2885 IN RE: 3M Combat Arms Earplug Products Liability Litigation
                     Conditional Transfer Order Finalized




From: JPMLCMECF@jpml.uscourts.gov
Sent: Tuesday, January 5, 2021 1:40:06 PM (UTC+00:00) Monrovia, Reykjavik
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Subject: Activity in Case MDL No. 2885 IN RE: 3M Combat Arms Earplug Products Liability Litigation Conditional Transfer
Order Finalized

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                                  United States Judicial Panel on Multidistrict Litigation

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The following transaction was entered on 1/5/2021 at 8:39 AM EST and filed on 1/5/2021
Case Name:          IN RE: 3M Combat Arms Earplug Products Liability Litigation
Case Number:        MDL No. 2885
Filer:
Document Number: 1071

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ([1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
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MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Boswell v. 3M Company et al
Case Number:     MN/0:20‐cv‐02609
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Bailor v. 3M Company et al
Case Number:     MN/0:20‐cv‐02640
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

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Case Name:       Barteau v. 3M Company et al
Case Number:     MN/0:20‐cv‐02602
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Burton v. 3M Company et al
Case Number:     MN/0:20‐cv‐02630
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Caves v. 3M Company et al
Case Number:     MN/0:20‐cv‐02606
Filer:
Document Number: 3
                                               3
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Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Brunson v. 3M Company et al
Case Number:     MN/0:20‐cv‐02627
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Burton v. 3M Company et al
Case Number:     MN/0:20‐cv‐02638
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
                                               4
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cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Nazarenko v. 3M Company et al
Case Number:     MN/0:20‐cv‐02591
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Cooper v. 3M Company et al
Case Number:     MN/0:20‐cv‐02623
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-

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cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Russell v. 3M Company et al
Case Number:     MN/0:20‐cv‐02599
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Cates v. 3M Company et al
Case Number:     MN/0:20‐cv‐02598
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.
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Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Buckner v. 3M Company et al
Case Number:     MN/0:20‐cv‐02629
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Cook v. 3M Company et al
Case Number:     MN/0:20‐cv‐02601
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,

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MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Velasquez v. 3M Company et al
Case Number:     MN/0:20‐cv‐02617
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Collier v. 3M Company et al
Case Number:     MN/0:20‐cv‐02636
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:        Buras v. 3M Company et al
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          Case 3:19-md-02885-MCR-HTC Document 1591-1 Filed 01/05/21 Page 9 of 19

Case Number:     MN/0:20‐cv‐02611
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Smith v. 3M Company et al
Case Number:     MN/0:20‐cv‐02607
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Burke v. 3M Company et al
Case Number:     MN/0:20‐cv‐02633
Filer:
Document Number: 3

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         Case 3:19-md-02885-MCR-HTC Document 1591-1 Filed 01/05/21 Page 10 of 19

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Brooks v. 3M Company et al
Case Number:     MN/0:20‐cv‐02626
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Castano v. 3M Company et al
Case Number:     MN/0:20‐cv‐02632
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
                                               10
         Case 3:19-md-02885-MCR-HTC Document 1591-1 Filed 01/05/21 Page 11 of 19

cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Talley v. 3M Company et al
Case Number:     MN/0:20‐cv‐02616
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-
cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)

Case Name:       Grover v. 3M Company et al
Case Number:     MN/0:20‐cv‐02589
Filer:
Document Number: 3

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-88) - 22 action(s) re: pldg. ( [1047] in MDL
No. 2885, 1 in MN/0:20-cv-02589, 1 in MN/0:20-cv-02591, 1 in MN/0:20-cv-02598, 1 in MN/0:20-
cv-02599, 1 in MN/0:20-cv-02601, 1 in MN/0:20-cv-02602, 1 in MN/0:20-cv-02606, 1 in MN/0:20-
cv-02607, 1 in MN/0:20-cv-02609, 1 in MN/0:20-cv-02611, 1 in MN/0:20-cv-02616, 1 in MN/0:20-
cv-02617, 1 in MN/0:20-cv-02623, 1 in MN/0:20-cv-02626, 1 in MN/0:20-cv-02627, 1 in MN/0:20-
cv-02629, 1 in MN/0:20-cv-02630, 1 in MN/0:20-cv-02632, 1 in MN/0:20-cv-02633, 1 in MN/0:20-

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cv-02636, 1 in MN/0:20-cv-02638, 1 in MN/0:20-cv-02640) Inasmuch as no objection is pending
at this time, the stay is lifted.

Signed by Clerk of the Panel John W. Nichols on 1/5/2021.

Associated Cases: MDL No. 2885, MN/0:20-cv-02589, MN/0:20-cv-02591, MN/0:20-cv-02598,
MN/0:20-cv-02599, MN/0:20-cv-02601, MN/0:20-cv-02602, MN/0:20-cv-02606, MN/0:20-cv-02607,
MN/0:20-cv-02609, MN/0:20-cv-02611, MN/0:20-cv-02616, MN/0:20-cv-02617, MN/0:20-cv-02623,
MN/0:20-cv-02626, MN/0:20-cv-02627, MN/0:20-cv-02629, MN/0:20-cv-02630, MN/0:20-cv-02632,
MN/0:20-cv-02633, MN/0:20-cv-02636, MN/0:20-cv-02638, MN/0:20-cv-02640 (JC)


MDL No. 2885 Notice has been electronically mailed to:

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MDL No. 2885 Notice will not be electronically mailed to:

MN/0:20‐cv‐02609 Notice has been electronically mailed to:

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MN/0:20‐cv‐02609 Notice will not be electronically mailed to:

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MN/0:20‐cv‐02640 Notice will not be electronically mailed to:

MN/0:20‐cv‐02602 Notice has been electronically mailed to:

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MN/0:20‐cv‐02602 Notice will not be electronically mailed to:

MN/0:20‐cv‐02630 Notice has been electronically mailed to:

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MN/0:20‐cv‐02630 Notice will not be electronically mailed to:

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MN/0:20‐cv‐02627 Notice will not be electronically mailed to:

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MN/0:20‐cv‐02638 Notice will not be electronically mailed to:

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MN/0:20‐cv‐02591 Notice will not be electronically mailed to:

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MN/0:20‐cv‐02623 Notice will not be electronically mailed to:

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MN/0:20‐cv‐02629 Notice will not be electronically mailed to:

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MN/0:20‐cv‐02601 Notice will not be electronically mailed to:

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MN/0:20‐cv‐02617 Notice will not be electronically mailed to:

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Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP JPMLStamp_ID=1090522767 [Date=1/5/2021] [FileNumber=1034196‐0]
[8056a71dd9142ed1a543ae2829f6adf6b926e9c8dd9a9ca1ea9c6900c7a15aa3cee03
6e63412e83ea736dd74ae0b02a0b03d3e747d67a44c9c86c51356dab78f]]




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